Case 2:04-cr-00968-SMM Document6 Filed 06/01/05 Page 1 of 2
UNITED STATES DISTRICT COURT MAGISTRATE JUDGE'S MINUTES

DISTRICT OF ARIZONA - Phoenix

 

 

 

 

 

 

 

 

 

 

 

 

Vf
DATE: 6/1/2005 CASE NUMBER: _CR 04-00968-001-PHX-SMM |_/\ Frep __ LODGED
—..RECEIVED ____ eopy
USA vs. _Gregory K. Priore JUN, 03,2006
U.S. MAGISTRATE JUDGE: LAWRENCE O. ANDERSON #: 70BI . frict cour
| DEPUTY
A.U.S. Attorney _Daniel Drake INTERPRETER
LANGUAGE ‘:
Attorney for Defendant Mark Berardoni (Appointed)
DEFENDANT: J) present LC] Not preseNT XJ RELEASED
DOA___ Xx Initial Appearance x Appointment of counsel hearing held
xX Financial Afdvt taken Cc Defendant Sworn CL] Financial Afdvt sealed

CL) Defendant states true name to be __. Further proceedings ORDERED in Defendant’s true name.

 

DETENTION HEARING: ARRAIGNMENT HEARING:
C Held Cc] Con’t CJ Submitted CJ Reset xX Held CJ Con’t C] Reset
Set for: Set for:

Before: Before:

L] Defendant ordered temporarily detained in the | pjeg of NOT guilty entered to Counts.
custody of the United States Marshal

XI Defendant ordered released_O/R with

conditions - No Pretrial Services supervision
ordered

DATE OF MOTION DEADLINE:

Defendant bound over to U.S.D.C. for trial on
NO TRIAL DATE SET - Rule 20 Case in __
C) Defendant continued detained pending trial before__

 

 

 

 

STATUS HEARING RE: Set for before

 

Other: Defense counsel informs the Court that the defendant has not made an appearance in the Eastern District
of Pennsylvania where the case originated and asked that the defendant be arraigned. Arraignment held.
Magistrate Judge Duncan is the referral judge. Counsel is directed to contact that court to set the change of plea
hearing.

 

 

 

Recorded by Courtsmart a
BY: Sherise M. Marshall
Deputy Clerk |
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

ELECTRONIC CERTIFICATION

| hereby attest and certify on June 3, 2005
that the foregoing document is a full, true and correct copy of the original
on file in my office and in my custody.

CLERK, U. S. DISTRICT COURT
DISTRICT OF ARIZONA

Deputy Clerk

 

 

Electronic Certification Issued pursuant to General Order 99-3

Verification Code UVDOSYhk\hT_
